     Case 1:16-cr-00203-LJO-SKO Document 59 Filed 03/12/18 Page 1 of 1


1

2

3

4                            IN THE UNITED STATES DISTRICT COURT
5                         FOR THE EASTERN DISTRICT OF CALIFORNIA
6

7    UNITED STATES OF AMERICA,                        Case No.: 1:16-CR-00203-002 LJO
8                         Plaintiff,                  ORDER OF RELEASE
9          v.
10   XOCHITL VANESSA MORENO-GONZALEZ,

11                        Defendant.
12

13          The above named defendant having been sentenced on March 12, 2018, to Time Served,
14
            IT IS HEREBY ORDERED that the defendant shall be released forthwith. This Order in
15
     no way addresses any potential or existing Immigration or Deportation issues.
16
            A certified Judgment and Commitment order to follow.
17

18
     IT IS SO ORDERED.
19

20      Dated:    March 12, 2018                          /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
21

22

23

24

25

26

27

28
